          Case 1:21-cv-11181-PBS Document 288 Filed 11/07/23 Page 1 of 4




                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
INA STEINER, DAVID STEINER, and     )
STEINER ASSOCIATES, LLC,            )
                                    )                       Civil Action No. 21-CV-11181-PBS
            Plaintiffs,             )
                                    )
      v.                            )
                                    )
EBAY INC., et al.,                  )
                                    )
            Defendants.             )
____________________________________)

                     DEFENDANT EBAY INC’S RESPONSE TO
                 GOVERNMENT’S MOTION FOR PROTECTIVE ORDER

        Defendant eBay Inc. (“eBay”) hereby responds to the Government’s Motion for Protective

Order. ECF No. 273. eBay and several other defendants have met and conferred with the

Government to discuss narrowing the proposed protective order to address concerns regarding

overbreadth and burden while also preserving the Government’s interest in protecting classified

information. eBay and the Government have reached agreement on a narrower version of the

protective order, which is attached as Exhibit A (the “Revised Protective Order”). 1                        The

Government has communicated that the Revised Protective Order is acceptable. Defendants Devin

Wenig, Steve Wymer, Wendy Jones, Jim Baugh, David Harville, Philip Cooke, Stephanie Popp,

and Brian Gilbert have indicated they do not oppose the Revised Protective Order. Defendants

Progressive F.O.R.C.E. Concepts, LLC, Steve Krystek, Veronica Zea, and Stephanie Stockwell

have not responded to requests for their position.

        eBay acknowledges the Government’s need to protect classified information.


1
 A redline reflecting the changes between eBay’s proposed order and the Government’s proposed order is attached
as Exhibit B
          Case 1:21-cv-11181-PBS Document 288 Filed 11/07/23 Page 2 of 4




Nevertheless, as eBay has explained to the Government, eBay objects to the version of the

protective order originally submitted with the Government’s motion, see ECF No. 273-2 (the

“Original Draft”), for several reasons. First, the Original Draft included an overbroad definition

of “Protected Information” that could be read to prohibit legitimate discovery into non-classified

matters. See Original Draft ¶ 1 (prohibiting parties from using, disclosing, or eliciting testimony

concerning “Protected Information”). The Original Draft defines “Protected Information” to

include any “nonpublic relationship[]” between any of the parties and the U.S. Government.

Original Draft ¶ 2(a). This could be read to include nonpublic relationships in connection with the

criminal investigation that are wholly unrelated to classified information, such as Jim Baugh’s (or

other defendants’) interactions with the U.S. Attorney’s Office. There is no basis for restricting

discovery in this manner. Second, the Original Draft would require the parties to provide the

Government with advance copies of all pleadings or documents “that reference[] or relate[] in any

way to (1) the U.S. Government, including any agency or entity of the U.S. Government, or (2)

Defendant James Baugh.” 2 Id. at 5. There is no reason, however, to expect that there are any

classified documents relating to the U.S. Government that do not mention Baugh—a point the

Government has now acknowledged. Accordingly, requiring preclearance of all pleadings or

documents that reference the U.S. Government but not Baugh is overbroad, unnecessarily

burdensome for the parties, and an unnecessary impediment to advancing this litigation.

        Because the Revised Protective Order addresses these concerns while protecting the

Government’s legitimate interest in safeguarding classified information, eBay respectfully

requests that the Court deny the Government’s Motion for entry of the proposed protective order



2
 In the Original Draft, the Government carves out a narrow exception to its proposed preclearance requirements for
pleadings or documents “if the reference or relation to the U.S. Government or Defendant James Baugh exclusively
concerns events occurring on or after July 1, 2018.” Id.

                                                        2
        Case 1:21-cv-11181-PBS Document 288 Filed 11/07/23 Page 3 of 4




contained at ECF No. 273-2 and instead enter the Revised Protective Order at Exhibit A.



Dated: November 7, 2023                                   Respectfully submitted,

                                                          /s/ Jack W. Pirozzolo            .
                                                          Jack W. Pirozzolo
                                                          Kathryn L. Alessi
                                                          SIDLEY AUSTIN LLP
                                                          60 State Street, 36th Floor
                                                          Boston, MA 02109
                                                          Telephone: (617) 223-0300
                                                          jpirozzolo@sidley.com
                                                          kalessi@sidley.com

                                                          Scott T. Nonaka (pro hac vice)
                                                          SIDLEY AUSTIN LLP
                                                          555 California Street, Suite 2000
                                                          San Francisco, CA 94104
                                                          Telephone: (415) 772-1285
                                                          snonaka@sidley.com

                                                          Daniel J. Feith (pro hac vice)
                                                          SIDLEY AUSTIN LLP
                                                          1501 K Street, NW
                                                          Washington, D.C. 20005
                                                          Telephone: (202) 736-8511
                                                          dfeith@sidley.com

                                                          Counsel for eBay Inc.




                                               3
        Case 1:21-cv-11181-PBS Document 288 Filed 11/07/23 Page 4 of 4




                               CERTIFICATE OF SERVICE

       I hereby certify that on November 7, 2023, this document, filed through the CM/ECF

system, will be sent electronically to the registered participants as identified on the Notice of

Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered

participants. An email copy was sent to pro se defendant Stephanie Stockwell.



Dated: November 7, 2023                                   /s/ Jack W. Pirozzolo
                                                          Jack W. Pirozzolo




                                               4
